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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

ANTHONY BAEZ, JONATHAN BERMUDEZ                       )
JERMAINE GONSALVES, and DEDRICK                       )
LINDSEY on behalf of themselves and all others        )
similarly situated,                                   )
                                                      )
                       Petitioners,                   )
                                                      )
               v.                                     )       Civil Action No. 20-10753-LTS
                                                      )
ANTONE MONIZ,                                         )
                                                      )
                       Respondent.                    )

                      RESPONDENT’S UPDATED STATUS REPORT

       Respondent Antone Moniz, Superintendent of the Plymouth County Correctional Facility

(“Respondent”), by and through his attorney, Andrew E. Lelling, United States Attorney for the

District of Massachusetts, respectfully submits this status report to inform the Court and parties of

the below developments. As reported yesterday, a test was administrated yesterday on an inmate

and the results were pending at the time Respondent filed his status report. Doc. # 48. This

morning, that test of the inmate came back positive. Details regarding the inmate and the response

by the Plymouth County Correctional Facility (“PCCF”) are set forth below.

       This is the first positive test of anyone in the inmate and detainee population at PCCF. This

particular inmate arrived at PCCF on April 24, 2020. He was arrested on county charges, and is

detained at PCCF as a state pretrial detainee. During intake, the inmate denied any contact with

anyone with COVID-19. Per protocols, the inmate was quarantined upon his arrival, first in the

booking unit in his own cell (from April 24 until April 28), and then in the intake quarantine unit

(from April 28 until April 29). On April 29, the inmate presented with symptoms and was tested
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for COVID-19. Moments later, the inmate reported to the medical provider administering the test

that he had had close contact with two individuals on April 21, April 22, April 23, and the morning

of April 24 before his arrest. He further reported that he recently learned that those individuals

had tested positive for COVID-19. That day, while the results were pending, the inmate was placed

in isolation in the medical unit as a precaution. The next day the test came back positive. The

inmate remains in isolation in the medical unit, where he is assigned to a negative pressure room.

There is 24/7 nursing care on site; checks of vital signs twice daily; and a transportation plan in

the event of severe symptoms. 1

       In light of this development, Respondent respectfully withdraws his argument, asserted in

his motion to dismiss and incorporated into his opposition to the TRO/PI motion, that Petitioners

lack standing.

                                                     Respectfully submitted,

                                                     ANTONE MONIZ
                                                     Superintendent of the Plymouth
                                                     County Correctional Facility

                                                     By his attorneys,

                                                     ANDREW E. LELLING,
                                                     United States Attorney

                                             By:     /s/ Jason C. Weida
                                                     Jason C. Weida
                                                     Assistant U.S. Attorney
                                                     United States Attorney’s Office
                                                     1 Courthouse Way, Suite 9200


       1
         By way of general update, there have now been 14 tests in total of the inmate and detainee
population at PCCF. Thirteen of those 14 tests were negative. There are no outstanding inmate
or detainee tests at this time. And, the test results of the staff member mentioned in yesterday’s
status report are still pending at the date and time of filing.
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Dated: April 30, 2020                     Jason.Weida@usdoj.gov
